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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

MICHAEL J. WEST,                            §
                                            §
                           PLAINTIFF,       §
                                            §
VS.                                         §        CA NO. 3-19CV-2822X
                                            §
ABM INDUSTRIES, INC.,                       §
DFW INTERNATIONAL AIRPORT/F.I.C,            §
AND ALLTEX STAFFING AND                     §
CONSULTING, LLC,                            §
                                            §
                           DEFENDANTS.      §



           ALLTEX STAFFING AND CONSULTING’S 1 REPLY BRIEF IN
            SUPPORT OF ITS MOTION TO DISMISS (DOCKET NO. 35)
          PLAINTIFF’S FIRST AMENDED COMPLAINT (DOCKET NO. 19)


      Initially, Plaintiff’s incoherent response (Docket No. 39) to AllTex’s motion to

dismiss (Docket No. 35) is difficult to even comprehend. Nevertheless,

Defendant makes the following reply

                                           I.

      AS A MATTER OF LAW, MUCH OF PLAINTIFF’S RESPONSE MUST
      BE DISREGARDED BECAUSE IT IS OUTSIDE THE PROPER SCOPE
      OF REVIEW FOR A RULE 12(B)(6) MOTION.

      Plaintiff’s response makes a number of vague, confusing references to

alleged facts outside the record, including, e.g., to a purported worker’s

compensation claim, benefit review conference, “testimony” allegedly given in

connection with a worker’s compensation proceeding, etc. See Docket No. 39


      d/b/a Abba Staffing and Consulting (referenced herein simply as
      1

“AllTex”).


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(p. 2, ¶¶ 2-3). As a matter of law, all such references are utterly irrelevant and

may not be considered in ruling on AllTex’s motion to dismiss because they

allude to matters outside the four corners of Plaintiff’s Amended Complaint

(Docket No. 19). “[T]he inquiry on a Rule 12(b)(6) motion to dismiss is whether

the face of a plaintiff's complaint ‘states a claim to relief that is plausible on its

face.’” McAlpin v. Am. Hardwoods Indus., LLC, 2016 WL 1084139, at 2 (N.D.

Miss. Mar. 17, 2016), on reconsideration, 2016 WL 3180106 (N.D. Miss. June

2, 2016) (emphasis added, quoting Iqbal, 556 U.S. 662, 678 (2009)). “A motion

to dismiss pursuant to Rule 12(b)(6) is decided solely on the pleadings[.]”

Senegal v. Jefferson County, Tex., 1 F.3d 1238 2 (5th Cir. 1993) (per curiam).

Accord, e.g., Flores v. Roma ISD, 2017 WL 11104106, at 3 (S.D. Tex. June 1,

2017) (same, quoting Senegal).

                                         II.

    PLAINTIFF’S RESPONSE WHOLLY FAILS TO ADDRESS ANY OF THE
    GROUNDS ON WHICH DISMISSAL IS SOUGHT.

    AllTex sought dismissal under Fed. R. Civ. P. 12(b)(1) and 12(b)(6) of all

Plaintiff’s claims for a variety of reasons. Plaintiff’s response fails to address

any of the grounds on which dismissal is sought.

A. FAILURE TO ALLEGE ANY ACT OR OMISSION BY ALLTEX:

    AllTex has sought dismissal of all claims under Rule 12(b)(6) because the

Amended Complaint (Docket No. 19) fails to allege any act or omission on the

part of any of AllTex’s employees or agents upon which imposition of liability

could be based. Plaintiff’s response fails to point to any allegation in the

Amended Complaint to refute this ground for dismissal. 2

    2 Plaintiff’s response (Docket No. 39, ¶ 4) claims the “primary reason why
plaintiff joined AllTex to this action” is the alleged denial of a putative worker’s
compensation claim and matters allegedly occurring in connection with that
Footnote continued on next page . . .

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B. FAILURE TO ALLEGE A BASIS FOR LIABILITY UNDER THE ADA:

    The Amended Complaint fails to allege any facts whatsoever to support a

contention that AllTex “participate[d] in the discrimination, or if it [knew] or

should have known of [ABM’s alleged] discrimination but fail[ed] to take

corrective measures within its control.” Burton v. Freescale Semiconductor, Inc.,

798 F.3d 222, 229 (5th Cir. 2015). See, e.g., High v. City of Wylie, Texas, 2019

WL 3557238, at 5 (E.D. Tex. Aug. 5, 2019) (dismissing complaint with

prejudice where “[a]ll the factual allegations of discrimination arise out of

conduct of the [employees of the staffing agency’s client]”). Plaintiff’s response

makes no attempt whatsoever to address the Fifth Circuit’s standard for

imposing liability on a staffing agency for the alleged discriminatory conduct of

the agency’s client. The response does not even mention Burton.

C. FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES:

    “A judicial complaint that fails to allege exhaustion of administrative

remedies or that the plaintiff should for some adequate reason be excused from

this requirement is properly subject to dismissal.” Hoffman v. Boeing, 596 F.2d

683, 685 (5th Cir. 1979). Accord, e.g., Ogbogu v. Navin, 2019 WL 4307011, at 8

(N.D. Tex. Aug. 16, 2019) (dismissing TITLE VII and ADA race and disability

discrimination claims for failure to plead exhaustion of remedies), rep. and

recomm. adopted, 2019 WL 4303102 (N.D. Tex. Sept. 11, 2019); Johnson v. U.S.


. . . footnote continued from previous page.
alleged claim. As stated above, as a matter of law Plaintiff’s contention is
outside the face of the Amended Complaint and cannot be considered.
Moreover, even if the extra-record statements in the response (Docket No. 39
(p. 2, ¶¶ 2-3)) were part of the Amended Complaint, as a matter of law they, too,
are wholly insufficient to establish any liability under the standards of Bell Atl.
Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662
(2009) for any of the claims alleged in the Amended Complaint.


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Postal Serv., 2016 WL 791076, at 1–2 (N.D. Tex. Jan. 27, 2016) (dismissing

TITLE VII claim for failure to state a claim where the plaintiff failed to allege

exhaustion of administrative remedies); Carr v. United Reg’l Health Care Sys.,

Inc., 2006 WL 2370670, at 2 (N.D. Tex. Aug. 16, 2006) (ADA and REHABILITATION

ACT claims dismissed “because [the plaintiff] has failed to allege that he

exhausted his . . . administrative remedies. . . .”).

   Plaintiff’s Amended Complaint fails to allege any exhaustion of remedies

against AllTex, and Plaintiff’s response fails to contend otherwise. 3

D. FAILURE TO TIMELY FILE SUIT:

   Even assuming, arguendo, Plaintiff exhausted administrative remedies

against AllTex, the face of the Amended Complaint establishes that Plaintiff

failed to timely file suit against AllTex. Accordingly, dismissal of Plaintiff’s ADA

claims is mandatory. “Courts within this Circuit have repeatedly dismissed

cases in which the plaintiff did not file a complaint until after the ninety day

limitation period had expired.” Crabtree v. Cyberonics, Inc., 2006 WL 1581971,

at 2 (S.D. Tex. June 7, 2006). Plaintiff’s response does not contend otherwise.

E. LACK OF JURISDICTION AND FAILURE TO STATE A CLAIM UNDER THE STAA:

   As explained in AllTex’s motion, the Court lacks subject matter jurisdiction

of any putative claim by Plaintiff under the STAA because the statute does not

create a direct private right of action. E.g., Lewis v. DBI Services,     2020 WL

248703, at 3 (W.D. Tex. Jan. 15, 2020); Bell v. Rinchem Co., Inc., 2014 WL

11290899, at 9 n. 12 (D. Mass. Dec. 2, 2014); Bailiff v. Davenport Transp., Inc.,

2013 WL 6229150, at 3 (W.D.N.C. Dec. 2, 2013). Plaintiff’s response does not


   3 Exhaustion of remedies is mentioned only superficially at p. 4, ¶¶ 4 and 5
of Plaintiff’s response (Docket No. 39). Plaintiff makes no substantive
contention that he exhausted administrative remedies vis-à-vis AllTex.,


                                                                                  4
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contend otherwise. In fact, Plaintiff’s response appears to affirmatively concede

that he is not seeking any recovery under the STAA. See Docket No. 39, p. 3

(emphasis original; bold underlining added):

   Plaintiff cites Title 49 of the U.S.C. in his “amended complaint.”

   First and only (p5 ¶8) to establish the employer/employee relationship
   (49 U.S.C.§ 31102(2),(3))

   Second and only (p18 ,21) to guard against the anticipated impugning of
   plaintiff’s character or cause for action (49 U.S.C. §31105(a))

   They are not included to seek remedy or prosecute, or to infer
   plaintiffs desire to bring a labor action/“STAA” as posited in
   AllTex’s 12(b)(1) argument (p.10 docket#35).

F. PLAINTIFF’S CONCLUSORY CONTENTION ALLTEX IS “INDISPENSABLE” IS UTTERLY
   INSUFFICIENT:

   Plaintiff’s response summarily contends joinder of AllTex as a defendant is

“necessary” under Fed. R. Civ. P. 19(a)(1)(A) because AllTex is, allegedly,

“indispensable to this action.” Docket No. 39, p. 1. However, Plaintiff’s response

utterly fails to explain why or how that is so. That is, Plaintiff fails to explain in

any manner how, “in [AllTex’s] absence, the court cannot accord complete relief

among existing parties,” i.e., Plaintiff and ABM. Fed. R. Civ. P. 19(a)(1)(A).

Plaintiff’s only attempt to explain the basis for joinder of AllTex appears at p. 3

of the response—in a paragraph which ends incoherently in mid-sentence:

“[J]oinder to this action is to allow the Court the ability to consider any shared

liability from possible coemployment [sic] issues, should the Court explore

those issues.” Docket No. 39, p. 3. 4




   4   This is followed by an incoherent incomplete sentence, “How AllTex can
[sic]” followed at the top of the next page by a new sentence and paragraph.


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   Plaintiff’s conclusory contentions and labeling AllTex as “indispensable”

are, as a matter of law, wholly insufficient to state a claim. “[A] plaintiff must

provide ‘more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.’” TeamLogic, Inc. v. Meredith Group IT,

LLC, 2017 WL 1837114, at 6 (N.D. Tex. May 8, 2017) (quoting Twombly, 550

U.S. at 555).

                  CONCLUSIONS AND REQUESTED RELIEF

   The motion to dismiss should be, in all things, GRANTED. Additionally,

dismissal should be WITH PREJUDICE because the fatal defects in Plaintiff’s

Amended Complaint cannot be cured, e.g., failure to exhaust remedies, failure

to timely file suit, lack of a private right of action under the STAA, etc.

Accordingly, any attempted further amendment would be futile. See, e.g.,

Cornett v. Edge, 2020 WL 890387, at 1 (N.D. Tex. Jan. 16, 2020), rep. and

recomm. adopted, 2020 WL 888535 (N.D. Tex. Feb. 24, 2020)

   “Ordinarily, ‘a pro se litigant should be offered an opportunity to amend
   his complaint before it is dismissed.’” [citations omitted]. But leave to
   amend is not required where an amendment would be futile, i.e., “an
   amended complaint would still ‘fail to survive a Rule 12(b)(6) motion.’”
   Stem v. Gomez, 813 F.3d 205, 215-16 (5th Cir. 2016) (quoting Marucci
   Sports, L.L.C. v. Nat’l Collegiate Athletic Ass’n, 751 F.3d 368, 378 (5th
   Cir. 2014)).

   Accord, e.g., Smith v. Mortgage Elec. Registr. Sys., Inc., 2019 WL 4648263,

at 6 (N.D. Tex. Aug. 30, 2019) (recommending dismissal with prejudice where

suit was barred by res judicata and, therefore, amendment would have been

futile), rep. and recomm. adopted, 2019 WL 4643678 (N.D. Tex. Sept. 24, 2019);

Ransom v. Nat’l City Mortg. Co., 2014 WL 717198, at 6 (N.D. Tex. Feb. 25,
2014) (“Ordinarily, a pro se plaintiff should be granted leave to amend his

complaint prior to dismissal[,]” but it is not required where “granting leave to

amend would be futile and cause needless delay.”).

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                                     Respectfully Submitted,

                                     /s/ John L. Ross
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                         CERTIFICATE OF SERVICE

   Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and (b)(3), I certify a true and correct

copy of the foregoing document was filed electronically on the 6th day of April,

2020. Parties may access this filing through the Court’s system. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing

system.

                                     /s/ John L. Ross
                                     JOHN L. ROSS




   5 Board Certified in Labor & Employment Law and Civil Trial Law by the
Texas Board of Legal Specialization.


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